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 1   PILLSBURY WINTHROP SHAW PITTMAN LLP
     Matthew S. Walker (California Bar Number 101470)
 2   12255 El Camino Real, Suite 300
     San Diego, CA 92130-4088
 3   Telephone: 858.509.4000
     Facsimile:   858.509.4010
 4
     Eric Fishman (admitted pro hac vice)
 5   Andrew M. Troop (admitted pro hac vice)
     Carolina A. Fornos (admitted pro hac vice)
 6   31 West 52 nd Street
     New York, NY 10019-6131
 7   Telephone: 212.858.1000
     Facsimile:     212.858.1500
 8
     Attorneys for Bombardier Aerospace Corporation,
 9   Bombardier Inc., and Learjet, Inc.
10                         IN THE UNITED STATES BANKRUPTCY COURT

11                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

12                                                   )
     IN RE:                                          )   Lead Case No.: 2:17-bk-21386-SK
13                                                   )
     ZETTA JET USA, INC., a California corporation, )    Jointly administered with:
14                                                   )   2:17-bk-21387-SK
                    Debtor and Debtor in Possession. )   (Zetta Jet PTE Ltd.,
15                                                       a Singaporean corporation)
                                                     )
16   IN RE:                                          )   CHAPTER 7 CASES
                                                     )
17   ZETTA JET PTE Ltd., a Singaporean corporation, )    ADV. PRO. NO. 2:19 AP 01382-SK
                                                     )
18                  Debtor and Debtor in Possession. )
                                                     )   BOMBARDIER AEROSPACE
19                                                   )   CORPORATION, BOMBARDIER,
     JONATHAN D. KING, solely in his capacity        )   INC. AND LEARJET, INC.’S
20   as Chapter 7 Trustee of Zetta Jet USA, Inc. and )   APPLICATION AND MOTION TO
     Zetta Jet PTE, Ltd.,                            )   FILE UNREDACTED MOTION TO
21                                                   )   DISMISS FIRST AMENDED
                    Plaintiff,                       )   ADVERSARY COMPLAINT AND
22                                                       EXHIBITS UNDER SEAL
         v.                                          )
23                                                   )
     JETCRAFT CORPORATION, JETCRAFT                  )   Date:     TBD
24   GLOBAL, INC., JETCOAST 5000-5 LLC, ORION )          Time:     TBD
     AIRCRAFT HOLDINGS LTD., JETCRAFT ASIA )             Place:    Courtroom 1575
25   LIMITED, FK GROUP LTD, FK PARTNERS              )             255 East Temple Street
     LIMITED, JAHID FAZAL-KARIM,                     )             Los Angeles, CA 90012
26   BOMBARDIER AEROSPACE CORPORATION, )                 Judge:    Hon. Sandra R. Klein
     BOMBARDIER, INC., and LEARJET, INC.             )
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                     MOTION TO FILE UNDER SEAL MOTION TO DISMISS AND EXHIBITS


                                                                                       4850-0343-2954
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 1                                                          )
                    Defendants.                             )
 2                                                          )
                                                            )
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 4   TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY JUDGE,
 5   AND TO PLAINTIFF’S COUNSEL OF RECORD:
 6          On September 7, 2021, Bombardier Inc., Bombardier Aerospace Corporation, and Learjet Inc.
 7   (collectively, “Bombardier”) filed their Motion to Dismiss Counts 1-3, 6-7, 12-20, 25, 31-32 of First
 8   Amended Adversary Complaint 1 (the “Motion to Dismiss”). Because portions of the Motion to
 9   Dismiss and certain of the exhibits submitted in support thereof contain materials previously
10   designated as confidential under the Stipulated Protective Order (Dkts. 143, 145), Bombardier hereby
11   submits this Application and Motion for Leave to File Unredacted Motion to Dismiss First Amended
12   Adversary Complaint and Exhibits (the “Motion to Seal”) and will deliver redacted and unredacted
13   versions of the Motion to Dismiss and exhibits thereto consistent with the Stipulated Protective Order
14   and the Court’s comments at the February 17, 2021 status hearing.
15          This Court previously granted a motion to seal portions of the Trustee’s Proposed Consolidated
16   Amended Complaint and First Amended Adversary Complaint and Redline and exhibits thereto in this
17   action. See Dkts. 253, 262. Likewise, the Court previously granted a motion to seal portions of the
18   Complaint filed in the related adversary proceeding styled King v. Cavic Aviation Leasing (Ireland)
19   22 Co. Designated Activity Company, Case No. 2:19-ap-01147-SK (the “Cavic Proceeding”). See
20   Cavic Proceeding Dkt. 126.
21          Bombardier now moves pursuant to the Stipulated Protective Order, as well as LBR 5003-2
22   and the Court Manual § 2.8(b), in accordance with the Court’s prior order in the Cavic Proceeding
23   (Cavic Proceeding, Dkt. 88), to file the unredacted Motion to Dismiss and certain exhibits submitted
24   therewith under seal, and that only redacted versions be filed on the public docket. Further, Bombardier
25   respectfully requests that the Court prohibit parties who receive sealed, unredacted documents from
26

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     1Capitalized terms not defined herein have the meanings set forth in the Motion to Dismiss, filed
     contemporaneously herewith.
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                      MOTION TO FILE UNDER SEAL MOTION TO DISMISS AND EXHIBITS

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 1   republishing those documents or the confidential data contained therein in any way. Sealing is

 2   appropriate for the reasons set forth below and in the accompanying declaration from Bill Hantzis,

 3   dated September 7, 2021 (“Hantzis Declaration”).

 4          Through this Motion to Seal, Bombardier seeks to redact confidential and commercially

 5   sensitive information contained in: (a) the Motion to Dismiss; (b) the Aircraft Purchase Agreements

 6   for Planes 12-15 between Bombardier Aerospace Corporation and Yuntian 4 Leasing Company

 7   Limited, attached to the Declaration of Eric Fishman, dated September 7, 2021 (“Fishman Decl.”) as

 8   Exs. E-H (the “Plane 12-15 APAs”); and (c) the Agreements for Payment of a Commission or Fee on

 9   the Sale of an Aircraft for Planes 2-5, attached to the Fishman Decl. as Ex. M (the “Plane 2-5
10   Representative Agreements”). Bombardier has limited the redactions to the minimum necessary to
11   protect information relating to pricing, payments, sales commissions, and key competitive contractual
12   terms, that, if publicly disclosed, would give Bombardier’s competitors and other industry participants
13   an unfair competitive advantage and otherwise undermine Bombardier’s commercial activities and
14   market positions.
15          All of the proposed redactions fit into categories of commercially sensitive information that
16   the Court already authorized could be redacted and sealed, including: (a) the price of aircraft; (b)
17   payment schedules; (c) delivery schedules; (d) the process for inspection and acceptance of the aircraft;
18   (e) the consequences of delivery delays; (f) the party that bears the risk of delays from regulatory

19   changes; (g) what constitutes “excusable” and “non-excusable” delay; (h) interest for any late

20   payments; (i) termination; (j) remedies, including liquidated damages, in the event of termination; (k)

21   the right of the manufacturer to deliver, and the purchaser to accept, an aircraft with “open delivery

22   items” (“ODIs”) that must be addressed after delivery; (l) the time for addressing any such ODIs; (m)

23   the regulatory authorities that must issue certificates of airworthiness; (n) the delivery location; (o) the

24   entities to which a purchase and sale contract may (and may not) be assigned; (p) warranty terms and

25   conditions; (q) aftermarket support terms and conditions; (r) training of customer’s personnel; (s)

26   completion specifications; and (t) commissions to sales representatives. See Dkts. 253, 262.

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                       MOTION TO FILE UNDER SEAL MOTION TO DISMISS AND EXHIBITS

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 1          First, the limited redactions to the Motion to Dismiss pertain to confidential and commercial

 2   sensitive information that the Court has previously sealed in this action. See Dkts. 200, 262. As these

 3   redactions were previously authorized by this Court, the Court should again permit such information

 4   to be redacted and sealed.

 5          Second, the proposed redactions to the Plane 12-15 APAs seek to protect confidential and

 6   commercially sensitive information that are substantively identical or similar to redactions the Court

 7   has already approved with respect to the APAs relating to Planes 1-5 and 8-9 which were filed as

 8   exhibits to the First Amended Complaint. See Dkts. 207, 262. Because the redactions to the Plane 12-

 9   15 APAs are consistent with prior redactions to the Plane 1-5 and 8-9 APAs the Court previously
10   authorized, the Court should again permit such information to be redacted and sealed.
11          Third, the proposed redactions to the Plane 2-5 Representative Agreements concern
12   commissions to sales representatives identical to the redactions previously authorized in connection
13   with the filing of the First Amended Complaint and the exhibits thereto. See Dkts. 207, 262. The
14   redactions are conceptually the same as the redactions this Court previously authorized, thus, the Court
15   should again permit such information to be redacted and sealed.
16          WHEREFORE, for the reasons set forth above and in the Hantzis Declaration, Bombardier
17   respectfully requests that the Court grant the Motion to Seal. Jetcraft does not object and the Trustee
18   does not object to the proposed redactions or this sealing motion at this time.

19   Dated: September 7, 2021                      PILLSBURY WINTHROP SHAW PITTMAN LLP
20                                                 By:       /s/ Andrew M. Troop
                                                             Matthew S. Walker (CA Bar 101470)
21                                                           12255 El Camino Real, Suite 300
                                                             San Diego, CA 92130-4088
22                                                           Telephone: 858.509.4000
                                                             Facsimile:    858.509.4010
23
                                                             Eric Fishman (admitted pro hac vice)
24                                                           Andrew M. Troop (admitted pro hac vice)
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25                                                           31 West 52nd Street
                                                             New York, NY 10019-6131
26                                                           Telephone: 212.858.1000
                                                             Facsimile:    212.858.1500
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                      MOTION TO FILE UNDER SEAL MOTION TO DISMISS AND EXHIBITS

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 1                                              Attorneys for Bombardier Aerospace
                                                Corporation, Bombardier Inc. and Learjet,
 2                                              Inc.

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                 MOTION TO FILE UNDER SEAL MOTION TO DISMISS AND EXHIBITS

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                                PROOF OF SERVICE OF DOCUMENT
                    In re: Zetta Jet USA, Inc., ADV. PRO. NO. 2:19 AP 01382-SK

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is: 501 West Broadway, Suite 1100, San Diego, California 92101.

A true and correct copy of the foregoing document entitled (specify): (1) Bombardier Aerospace
Corporation, Bombardier, Inc. and Learjet, Inc.’s Application and Motion to File Unredacted Motion to
Dismiss First Amended Adversary Complaint and Exhibits Under Seal; and (2) Declaration of Bill
Hantzis in Support of Bombardier Aerospace Corporation, Bombardier, Inc. and Learjet, Inc.’s
Application and Motion to File Unredacted Motion to Dismiss First Amended Adversary Complaint and
Exhibits Under Seal will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On September 7, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:

                    Kristina S Azlin kristina.azlin@hklaw.com, ericka.mendez@hklaw.com
                    Brian K Condon Brian.Condon@arnoldporter.com
                    Aaron S Craig acraig@kslaw.com, mtunson@kslaw.com;eripley@kslaw.com;mciatti@kslaw.com
                    John K Lyons john.lyons@us.dlapiper.com, john-lyons-7790@ecf.pacerpro.com
                    Andrew Troop andrew.troop@pillsburylaw.com
                    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                    Matthew S Walker matthew.walker@pillsburylaw.com, renee.evans@pillsburylaw.com,
                    docket@pillsburylaw.com

               Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) September 7, 2021, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document
is filed.

               Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
September 7, 2021, I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as
follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

               Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 7, 2021                Renee Evans                                                   /s/ Renee Evans
 Date                           Printed Name                                                    Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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